

Matter of Labate (2022 NY Slip Op 04218)





Matter of Labate


2022 NY Slip Op 04218


Decided on June 30, 2022


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:June 30, 2022

PM-120—22
[*1]In the Matter of Victoria Chamberlain Labate, an Attorney. (Attorney Registration No. 5660063.)

Calendar Date:June 27, 2022

Before:Garry, P.J., Lynch, Clark, Aarons and Ceresia, JJ.

Victoria Chamberlain LaBate, Braintree, Massachusetts,pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Victoria Chamberlain LaBate was admitted to practice by this Court in 2018 and lists a business address in Braintree, Massachusetts with the Office of Court Administration. LaBate now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose LaBate's application.
Upon reading LaBate's affidavit sworn to May 4, 2022 and filed May 31, 2022, and upon reading the June 21, 2022 correspondence in response by the Chief Attorney for AGC, and having determined that LaBate is eligible to resign for nondisciplinary reasons, we grant her application and accept her resignation.
Garry, P.J., Lynch, Clark, Aarons and Ceresia, JJ., concur.
ORDERED that Victoria Chamberlain LaBate's application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is further
ORDERED that Victoria Chamberlain LaBate's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Victoria Chamberlain LaBate is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and LaBate is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Victoria Chamberlain LaBate shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.








